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                                  STATEMENT OF FACTS

        1.     As described herein, a law enforcement investigation has revealed that Defendant
Richard Winchester (“WINCHESTER”) is involved in the distribution and possession with intent
to distribute multiple controlled substances in Washington, D.C. The investigation has also
revealed WINCHESTER’s possession of a firearm and ammunition, including specifically
WINCHESTER’s possession of a firearm equipped with a device that is consistent in appearance
with a type of machinegun conversion device often referred to as a “Glock switch,” which allows
a conventional semi-automatic Glock pistol to function as a fully automatic firearm.

        2.     On January 26, 2022, Metropolitan Police Department (“MPD”) members
conducted an undercover purchase of controlled substances from WINCHESTER at
approximately 5:00 p.m., in and around the 1500 block of Alabama Avenue SE in the District of
Columbia. An undercover MPD officer (“UC”) contacted WINCHESTER by telephone to arrange
for the purchase of controlled substances. During the telephone call, UC and WINCHESTER
agreed to meet in the parking lot of a Wells Fargo Bank in the 1500 block of Alabama Avenue SE.
The parking lot is in close proximity to WINCHESTER’s residence, which is located at 3271
Stanton Road SE, Washington, D.C.

        3.       At approximately 5:00 p.m., WINCHESTER arrived in the parking lot in a green
Buick sedan bearing D.C. license plate number GP9083 (the “BUICK”). UC then arrived in the
parking lot and parked next to WINCHESTER’s vehicle. UC then exited its vehicle and engaged
in a brief conversation with WINCHESTER through WINCHESTER’s driver’s side window. UC
then gave WINCHESTER approximately $360, in exchange for which WINCHESTER gave UC
five blue pills and a white rock-like substance. The five blue pills provided by WINCHESTER to
UC were each marked “M/30” and are suspected oxycodone. Law enforcement performed a field
test on the white rock-like substance provided by WINCHESTER, which resulted in a positive
indication of crack cocaine, a Schedule II controlled substance. Law enforcement placed
WINCHESTER under arrest.

       4.    Following the undercover purchase described above, MPD members and federal
law enforcement agents executed D.C. Superior Court Search Warrant 2022 CSWSLD 000207, at
3271 Stanton Road SE (the “PREMISES”). Law enforcement previously observed
WINCHESTER leaving and entering the PREMISES and entering the BUICK parked outside,
including immediately before the above-referenced undercover purchase.

       5.      Upon executing the search warrant and entering the PREMISES, law enforcement
discovered the following in a bedroom (“BEDROOM 1”):

          a.      In a dresser drawer containing WINCHESTER’s District of Columbia
                  Identification card, law enforcement discovered a Glock Model 23, .40 caliber
                  firearm equipped with a laser sight. The firearm was loaded with one round in
                  the chamber and additional rounds in the magazine. Law enforcement also
                  discovered a device installed on the rear of the slide in the location where the
                  slide cover plate is installed. The device is consistent in appearance with a type
                  of machinegun conversion device often referred to as a “Glock switch.” The
                  firearm’s serial number appeared to have been intentionally damaged due to


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         grinding at two locations where the serial number was located, as depicted
         below:




 b.      Law enforcement also discovered the following in the same dresser drawer as
         WINCHESTER’s identification card and the loaded Glock firearm:

        i.      Two small plastic bags containing a white rock-like substance
                (suspected crack cocaine);

       ii.      One small plastic bag containing two white pills each marked “RP 10”
                (suspected oxycodone);

      iii.      Allen wrenches, which are a tool sometimes used to manipulate the
                setting on certain machinegun conversion devices.

 c.      On and around the same dresser, law enforcement discovered approximately
         six clear bags of marijuana weighing approximately 304 grams in total, as
         depicted below:




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 d.         Law enforcement also discovered a suitcase in BEDROOM 1 that contained:

        i.        Two large plastic bags, each containing approximately one pound of
                  marijuana;

       ii.        Marijuana packaging bags;

      iii.        Digital scale;

      iv.         Glock firearm box;

       v.         50-round drum magazine;

      vi.         Box of .40 caliber ammunition; and

      vii.        United States currency.




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           e.      Law enforcement also discovered a safe in a closet in BEDROOM 1 that
                   contained approximately $65,000 in U.S. currency.

        6.       Law enforcement also discovered additional quantities of marijuana, packaging,
digital scales, and U.S. currency inside the PREMISES, for example, as depicted below:




       7.     During a custodial interview, WINCHESTER provided that BEDROOM 1 is his
bedroom at the PREMISES. In addition, WINCHESTER provided that he previously purchased
the above-referenced Glock 23, .40 caliber firearm, that was discovered the dresser drawer in
BEDROOM 1.

        8.     Based on your affiant’s training and experience, you affiant believes the leafy green
substance recovered in the PREMISES to be marijuana, a Schedule I controlled substance. In
addition, your affiant has learned that the “RP 10” imprint on the pills recovered from
BEDROOM 1 corresponds to a 10 milligram oxycodone hydrochloride pill, a Schedule II
controlled substance.

       9.     There are no firearm or ammunition manufacturers in the District of Columbia.
Therefore, the firearm and ammunition referenced herein would have traveled in interstate
commerce prior to being in the possession of WINCHESTER on or before January 26, 2022.

       10.    A criminal history check of WINCHESTER revealed that WINCHESTER has
previously been convicted of at least one crime punishable by imprisonment for a term exceeding
one year. Specifically, WINCHESTER was convicted of Possession with Intent to Distribute a
Controlled Substance (Cocaine) in D.C. Superior Court Case No. 2013 CF2 009024. On
December 3, 2013, WINCHESTER was sentenced to 20 months of imprisonment (18 months
suspended), five years of supervised release (all suspended), and two years of supervised
probation.


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        11.     Therefore, WINCHESTER was aware at the time of his arrest in this case that he
had at least one prior conviction for a crime punishable by imprisonment for a term exceeding one
year.

        12.    In summary, WINCHESTER was a prohibited person who possessed a firearm and
ammunition, and who possessed marijuana, crack cocaine, and oxycodone with the intent to
distribute such controlled substances. Thus, your affiant believes there is probable cause to
establish the offenses of 18 U.S.C. § 922(g)(1); 18 U.S.C. § 924(c)(1)(A)(i); 21 U.S.C.
§§ 841(a)(1), 841(b)(1)(C) (crack cocaine); 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C) (oxycodone);
and 21 U.S.C. §§ 841(a)(1), 841(b)(1)(D) (marijuana).



                                     _____________________________________________
                                     SPECIAL AGENT JONATHAN C. BOLLER (#5811)
                                     BUREAU OF ALCOHOL, TOBACCO, FIREARMS
                                     AND EXPLOSIVES


Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 17th day of February, 2022.
                                                                   Zia M. Faruqui
                                                                   2022.02.17
                                                                   18:56:46 -05'00'
                                            ___________________________________
                                            HON. ZIA M. FARUQUI
                                            UNITED STATES MAGISTRATE JUDGE




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